Case 1:03-cV-01232-.]DB-tmp Document 34 Filed 07/01/05 Page 1 of 4 Page|D 74

 

F//:_-
UNITED sTATEs DlsTRlCT COURT /`5 W`" """ '-» 1251
wEsTERN DIsTRICT oF TENNEssEE `/ 's,_i.__, "
EASTERN DIvIsloN ` - '
LARRY JoHNsoN, )
)
Plainrirf, )
)
vs. ) Civil Action No.: 1:03-1232 -B/P

)
CoRRECTioNs CoRPoRATIoN )
OF AMERICA, et al., )
)
Defendants. )

 

AGREED ORDER OF DISMISSAL WITH PREJUDICE

 

All matters between the parties having been fully resolved and all parties being in
agreement that this cause should be dismissed in its entirety, With full prejudice, the
Court therefore finds that this cause should be dismissed, with full prejudice and,
accordingly:

IT lS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this
cause be, and the same is hereby, dismissed against the Defendants, Corrections
Corporation of America, Doctor Crants, Prison Realty Trust, Inc., Correctional
Management Services Corporation, Prison Realty Management, lnc., and Prison
Management Services, Inc., with prejudice as an adjudication upon the merits, and it, is,

FURTHER, ORDERED, ADJUDGED AND DECREED that costs of this cause,
including filing fees, will be paid by Plaintiff and no discretionary costs, bill of cost,
expenses or any attorney fees, either by statute or contract, will be applied for or awarded by

either party.

Thi`s document entered on the docket jeff in t~omp:'iar\.ea

adm Rule 58 and/or 79 (a) FHCP on wl.i:l> 05 Lj{

Case 1:03-cV-01232-.]DB-tmp Document 34 Filed 07/01/05 Page 2 of 4 Page|D 75

fla
Dared:ihis l clayon ,2005.

/

J. DAN@EL BREEN\
NIT 1) sTATES DIsTRlCT JUDGE

APPROVED FOR ENTRY:

,J_%MNML»- /WT

 

 

JAMES I. PENTECosT WRITCHIE, 11 "
BRANDON O. GIBSON OBERT W. RITCHIE
PENTECOST, GLENN & RUDD, PLLC RITCHIE, FELS & DILLARD
106 Stonebridge Blvd. P.O. Box 1126

lackson, Tennessee 38305 Knoxville, Tennessee 37901-1 126
ROBERT J. WALKER W. GASTON FAIREY

MARK TIPPS W. GASTON FAIREY, LLC
JOSEPH WELBORN 1722 Main Street, Suite 300

WALKER, BRYANT, TIPPS & MALONE Columbia, South Carolina 29201
2300 One Nashville Place

150 Fourth Avenue North COUNSEL FOR PLAINTIFF
Nashville, TN 37219-2424

COUNSEL FOR DEFENDANTS

Case 1:03-cV-01232-.]DB-tmp Document 34 Filed 07/01/05 Page 3 of 4 Page|D 76

CERTIF`ICATE OF SERVICE

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P,O. Box 1126,
Knoxville, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Columbia, sc 29201 on Junezi, 2005.

PENTECOST, GLENN & RUDD, PLLC

By; %/Wm@>%Z/M

J ames I. Pentecost (#01 1640)
Brandon O. Gibson (#21485)
Attorneys for Defendants

 

 

ESTRNE 1

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 1:03-CV-01232 was distributed by faX, mail, or direct printing on
.luly 6, 2005 to the parties listed.

 

W. Gaston Fairey

FAIREY PARISE & 1\/llLLS7 P.A.
P.O. Box 8443

Columbia, SC 29202

Robert .l. Walker

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KrloX\/ille7 TN 37901--112

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KrloX\/ille7 TN 37901

.l ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

.lacl<son7 TN 38305

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

.lacl<son7 TN 38305

Honorable .l. Breen
US DISTRICT COURT

